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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                    CASE NO.: 1:05cr40-SPM

ROBERTO VALLE, et al.,

           Defendants.
_________________________________/

                     ORDER GRANTING MOTION TO JOIN

        This cause comes before the Court on Defendant Roberto Valle’s motion

to join (doc. 216) Defendant Yunier Lima Suarez’s motion to continue trial. Upon

consideration, the motion to join (doc. 216) is granted. Trial as to Defendant

Roberto Valle is continued to May 1, 2006 as provided by separate order (doc.

217).

        DONE AND ORDERED this 29th day of March, 2006.


                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
